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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Banner Health
                                   d/b/a Banner Payson Medical Center
                                   807 S Ponderosa Street
                                   Payson, Arizona 85541




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT
                                                                               .........

Date:        Jun 18, 2019                                                                              s/ Doris Jones
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                                                                                           Signature of Clerk or Deputy Clerk
    Case 1:18-cv-20394-RNS Document 109 Entered on FLSD Docket 06/25/2019 Page 2 of 56
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:18-cv-20394-RNS
                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any) Banner Health d/b/a Banner Payson Medical Center
was received by me on (date) 6/20/19                     .

         [ ] I personally served the summons on the individual at (place) :
                                                                                   on (date)                      ; or
         [ ] I left the summons at the individual's residence or usual place of abode with (name) :
              a person of suitable age and discretion who resides there, on (date)                       , and mailed a copy to the
              individual's last known address:                                                                             ; or
                                                                                                                                        .
         [X] I served the summons on (name of individual) :        GAIL HYDE                                                      , who is

              designated by law to accept service of process on behalf of (name of organization) Banner Health d/b/a Banner
              Payson Medical Center                                            on (date) 6/21/19           ; or

         [ ] I returned the summons unexecuted because:


My fees are $                                   for travel and $    $90.00     for services, for a total of $            $90.00         .


          I declare under penalty of perjury that this information is true.


Date: June 21, 2019
                                                                                  Server’s signature

                                                         Antoine P. Cobb, ID # MC-8527 (Certified in Maricopa County)
                                                                                Printed name and title
                       ?

                   1900667                                              PO Box 16125, Phoenix AZ 85011-6125
                                                                                   Server’s address

Additional information regarding attempted service, etc:
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       1:18-cv-20394-RNS Document
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            Plaintifl(s)                          )
                                                                  )
                                v.                                       Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTJON

To: (Defendant's name a~d address) Blackwell HMA LLC
                                   d/b/a Alliancehealth Blackwell
                                   710 S 13th Street
                                   Blackwell, Oklahoma 74631




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      Jun 18, 2019                                                                           s/ Doris Jones
        -------------------                                                           Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            P laintiff(s)
                                                                  )
                                                                  )
                                 v.                                      Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Gaffney HMA LLC
                                   1530 N Limestone Street
                                   Gaffney, South Carolina 29340




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, .
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial· Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

             Jun 18, 2019                                                                         s/ Doris Jones
Dme: __________________
                                                                                      Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Acti9n


                                                 UNITED STATES DISTRICT COURT
                                                                           for the
                                                            Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                                    )
            LEWIS and JOEY NEIMAN                                             )
                                                                              )
                                                                              )
                                       Plaintiff(s)
                                                                              )
                                                                              )
                                           v.                                        Civil Action No. 18-20394
                                                                              )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                                      )
               LLC; et al.                                                    )
                                                                              )
                                                                              )
                                       Defendant(s)                           )
                                                                                           -
                                                            SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Hartsville, LLC d/b/a Carolina Pines Regional Medical Center
                                   1304 W Bobo Newsom Highway
                                   Hartsville, South Carolina 29550




          A lawsuit has been filed against you.

        Within 21 da;~ after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                           CLERK OF COURT

               Jun 18, 2019                                                                                    s/ Doris Jones
Date:
        ------------------                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            P/aintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           ),

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Jourdanton Hospital Corporation d/b/a South Texas Regional Medical Center
                                   1905 Highway 97 E
                                   Jourdanton, Texas 78026




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be;!. served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


             Jun 18, 2019                                                                          s/ Doris Jones
Dme: ---~--------------
                                                                                       Signature of Clerk or Deputy Clerk
Case 1:18-cv-20394-RNS Document 109 Entered on FLSD Docket 06/25/2019 Page 18 of 56



AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)


Civil Action No. 18-20394


                                                          PROOF OF SERVICE
                     (This section shouid not be filed with the couil unless required by Fed. R. Civ. P. 4 (I))

     "s §unlmons for (name Of individual and title, if any) ]OuRDANTON HOsplTAL cORpORATION Din/A sOuTH
TX REGIONAL MEDICAL CENTER was received by me on /da!fe/ Jun 20, 2019, 3:09 _P_qu.

                                                                                                           on (date)
        I   I personally served the summons on the individual at /p/4cc)
                                            ;Or

                                                                                                                                     a
        I   I left the summons at the individual's residence or usual place of abode with /mane/
                                                                                                                 and mailed a copy
                person of suitable age and discretion who resides there, on /defc/
                to the individual' s last known address; or
                                                                 VANESSA IHRNANDEZ , who is designated by law to accept
        H    I served the summons on (nczme qf I.#di.vi.dwa//
                 service of process on behalf of (#cmc a/ongar".zaf!`ori) CORPORATION SERVICE COMPANY, TIE.
                 REGISTERED AGENT FOR JOURDANTON HOsplTAL cORpORATION Dro;A sOuTH Tx REGIONAL
                REDICAL CENTER on /de/c/ Fri, Jun 21 2019 : or
                I returned the summons unexecuted because:

                                                    ;Or



        My fees are S                                for travel and S                       for services, for a total of S $0.00.


        I declare under penalty of perjury that this information is true.




                                                                                             £!g,,,,
 Date: 06/24/2019



                                                                                          Server' s si gnature

                                                                    Barbara C. Stinnett -Process Server -PSC-I 181 -Exp.
                                                                    7/31/2020

                                                                                        Printed name and title



                                                                        Po.eof                                           7gJcfr
                                                                                           Server's address


 Additional information regarding attempted set.vice, etc. :
 1) Successful Attempt: Jun 21. 2019, 12:46 pin at 211 E 7TH STREET, SUITE 620, AUSTIN, TX 78701 received by
 TouRDANTON HOsplTAL cORpORATION DreyA souTH Tx REGIONAL REDlcAL CENTER, By DELlvERING
 To ITS REGISTERED AGENT, coRpoRATloN SERvicE CormANy, WHERE THE DoCuRENT WAS ACCEPTED
 BY VANESSA HERNANDEZ, DESIGNATED AGENT FOR SERVICE OF PROCESS.

 DELIVERED T0 THE ABOVE NANID WAS A SU"ONS IN A CIVIL ACTION, CohffLAINT FOR VIOLATION
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Kennett HMA LLC
                                   1301 1 Street Street
                                   Kennett, Missouri 63857




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States' or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                  Phillips & Cohen LLP
                                  Southest Firiaricial Center
                                  200 S. Biscayne Blvd., Suite 2790
                                  Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
             Jun 18, 2019                                                                          s/ Doris Jones
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                                                                                       Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06112)' Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                 Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                         )
            LEWIS and JOEY NEIMAN                                  )
                                                                   )
                                                                   )
                            Plaintiff(s)
                                                                   )
                                                                   )
                                 v.                                       Civil Action No. 18-20394
                                                                   )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                           )
               LLC; et al.                                         )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Mayes County HMA, LLC
                                   d/b/a Alliancehealth Pryor
                                   111 N Bailey Street
                                   Pryor, Oklahoma 74361




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:        Jun 18, 2019                                                                                       s/ Doris Jones
        ------------------                                                             Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                Southern District of Florida


    UNITED STATES OF AMERICA ex rei. DEREK                        )
            LEWIS and JOEY NEIMAN                                 )
                                                                  )
                                                                  )
                            Plaintiff(s)
                                                                  )
                                                                  )
                                v.                                        Civil Action No. 18-20394
                                                                  )
 COMMUNITY HEALTH SYSTEMS, INC.; CHSPSC,                          )
               LLC; et al.                                        )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Salem Hospital Corporation
                                   d/b/a The Memorial Hospital Of Salem County
                                   310 Woodstown Road
                                   Salem, New Jersey 08079




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jeffrey W. Dickstein
                                 Phillips & Cohen LLP
                                 Southest Financial Center
                                 200 S. Biscayne Blvd., Suite 2790
                                 Miami, FL 33131


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer ~r motion with the court.



                                                                               CLERK OF COURT


Date:        Jun 18, 2019                                                                          s/ Doris Jones
                                                                                       Signature of Clerk or Deputy Clerk
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